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                                   1908




                       EXHIBIT 24
Baby Doe
      Case   3:22-cv-00049-NKM-JCH Document 171-24 Filed 02/27/23 Page 2 of 9 Pageid#:
                                           1909
Baby Case
     Doe    3:22-cv-00049-NKM-JCH Document 171-24 Filed 02/27/23 Page 3 of 9 Pageid#:
                                          1910
Baby
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                                        1911
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     Case 3:22-cv-00049-NKM-JCH
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                                                            Gmail171-24      Filed 02/27/23
                                                                 - FW: Touhy Recission ICO Maj Mast Page 8 of 9 Pageid#:
                                                               1915

                                                                                     Joshua Mast <        Redacted              @gmail.com>




                             Redacted
    Sent with BlackBerry Work (www.blackberry.com)

    From: " Redacted LTCOL USMC USSOCOM MARSOC (USA)" < Redacted .mil@socom.mil>
    Sent: Jun 10, 2022 11:39 AM
    To: "Mast, Joshua K MAJ USMC USSOCOM MARSOC (USA)" Redacted .mil@socom.mil>
    Subject: FW: Touhy Recission ICO Maj Mast

      Maj Mast,

      Please confirm receipt.

      V/R,
      LtCol
            Redacted




      -----Originl Message-----
      From:       Redacted      < Redacted @usmc.mil>
      Sent: Friday, June 10, 2022 11:29 AM
      To: Redacted LTCOL USMC USSOCOM MARSOC (USA) <Redacted.mil@socom.mil>
      Subject: FW: Touhy Recission ICO Maj Mast

      LtCol              ,
              Redacted




      Please immeditely gie the two documents to Major Mast and confirm with me
      that he has receied it.

      Thank you.

      Colonel
                  Redacted



      Colonel Redacted
      Staff Judge Advocate
      II Marine Expeditionary Force
       Redacted @usmc.mil
       Redacted @usmc.smil.mil
      Office (910) Redacted
      Mobile (910) Redacted

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      Case 3:22-cv-00049-NKM-JCH Document
 Redacted                                       Gmail171-24       Filed 02/27/23
                                                      - FW: Touhy Recission ICO Maj Mast Page 9 of 9 Pageid#:
                                                    1916
    Any misuse or unauthorized disclosure can result in both ciil and criminl
      penalties.


      -----Originl Message-----
      From:         Redacted         CI USSOCOM MARSOC (USA)
      <      Redacted       @socom.mil>
      Sent: Friday, June 10, 2022 11:17 AM
      To:      Redacted       <j Redacted @usmc.mil>
      Subject: Touhy Recission ICO Maj Mast

      Colonel                ,
                  Redacted




      The attached letter signed by the Commanding General MARFORSOC on 09
      June2022 is the current direction and guidance to Major Mast.

      My endorsement signed earlier on 09 June 2022 is null and void ab initio, as
      the Commanding General has the finl authority in this matter and the
      attached his June 9 letter supersedes any other endorsement or approvl from
      me. There is no approvl from the United State Government for Major Mast to
      use any officil government information in these state court proceedings.



      Respectfully,

                Redacted




            Redacted
      Marine Forces Specil Operations Command

      Deputy Chief of Staff

      Comm: (910) Redacted

      NIPR:            Redacted          @socom.mil




     2 attachments
          TouhyRescissionV2_06092022175607.pdf
          65K
          Grzeszczak Letter Signed.pdf
          16K


 Joshua Mast < Redacted mast@gmail.com>                                                                        Sun, Feb 26, 2023 at 7:54 AM
 To: Joshua Mast < Redacted mast@gmail.com>

    [Quoted text hidden]




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